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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

  EUGENE ALLAN, et al.,

           Plaintiffs,                                  Case No. 10-cv-14046

  v.                                                    HONORABLE STEPHEN J. MURPHY, III

  REALCOMP II, LTD., et al.,

           Defendants.
                                            /

                         ORDER OF ADMINISTRATIVE CLOSURE

       The parties have agreed to settle this case. See Settlement Agreement, ECF No. 222-

  2. The Court has approved the Settlement Agreement under Civil Rule 23. Under the terms

  of the Settlement Agreement, the common fund of $3.25 million will not be fully funded until

  April 30, 2015, and the claims administrator must verify the validity of the received claims

  before final distribution. Id. at 9. Once completed, the parties will file a motion for

  distribution of the settlement funds. This order administratively closes the case while the

  parties fill the common fund and verify the claims. The closure is for administrative

  purposes only. The case will be reinstated when the motion for final distribution is filed, or

  on motion of either party without the need to show cause.

                                            ORDER

       WHEREFORE it is hereby ORDERED that the case is CLOSED for administrative

  purposes pending the motion for final distribution.

       SO ORDERED.

                                      s/Stephen J. Murphy, III
                                      STEPHEN J. MURPHY, III
                                      United States District Judge
  Dated: September 4, 2014
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  I hereby certify that a copy of the foregoing document was served upon the parties and/or
  counsel of record on September 4, 2014, by electronic and/or ordinary mail.

                                    s/Carol Cohron
                                    Case Manager




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